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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 RowVaughn Wells, Individually and as                          Case No. 2:23-CV-02224
 Administratrix Ad Litem of the Estate of
 Tyre Deandre Nichols, deceased.

                        Plaintiff,                             PLAINTIFF’S MOTION
                                                               FOR EXTENSION OF
                vs.                                            TIME TO FILE MEDIATION
                                                               STIPULATION
 The City of Memphis, a municipality;
 Chief Cerelyn Davis, in her official capacity;
 Emmitt Martin III, in his individual capacity;
 Demetrius Haley, in his individual capacity;
 Justin Smith, in his individual capacity;
 Desmond Mills, Jr., in his individual capacity;
 Tadarrius Bean, in his individual capacity;
 Preston Hemphill, in his individual capacity;
 Robert Long, in his individual capacity;
 JaMichael Sandridge, in his individual capacity;
 Michelle Whitaker, in her individual capacity;
 DeWayne Smith, in his individual capacity and
 as an agent of the City of Memphis.

                        Defendants.

      PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE MEDIATION
                             STIPULATION


        Plaintiff, by and through her attorneys, hereby files this Motion for Extension of Time to

 File Mediation Stipulation. In support thereof, Plaintiff states as follows:

        1.      On April 19, 2023, Plaintiff filed her Complaint against Defendant City of

 Memphis, Defendant Chief Cerelyn Davis, and other Defendants. ECF Dkt. 1.

        2.       On September 21, 2023, this Court entered its Scheduling Order following the

 Scheduling Conference held pursuant to Local Rule 16.1.



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        3.       Among other relevant deadlines, the Court set the Selection of Mediator Pursuant

 to ADR Plan Rule 5.4(c)(2) and Stipulation Filing Date for December 1, 2023.

        4.       The parties have since met and conferred via email at the initiation of Plaintiff’s

 Counsel. See Certification of Consultation infra.

        5.       Those parties responding all agreed that the parties need more time to discuss the

 selection of a mediator and the prospects of mediation. Id.

        6.       The parties have begun exchanging initial discovery and a number of motions are

 currently on file while certain Defendants are subject to a stay entered by this Court.

        7.       Plaintiff seeks an additional 21 days until December 22, 2023 for the parties to

 meet, confer, and provide the Court with a Mediation Stipulation.

        8.       This motion is not being brought for undue delay or lack of preparation on behalf

 of any party; it is being brought in good faith.

        WHEREFORE, Plaintiff respectfully requests that this Court grant this Motion for

 Extension of Time and permit the parties to file their Mediation Stipulation by December 22, 2023.


 Dated: December 1, 2023                        Respectfully Submitted,

                                                /s/ Bryce T. Hensley________________
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                                CERTIFICATE OF CONSULTATION

         I, Bryce T. Hensley, hereby certify that I emailed all Counsel of Record on November

  30, 2023 to propose an extension of time to file a stipulation regarding mediation. Counsel for

  the City of Memphis and Chief Davis; Counsel for Preston Hemphill and DeWayne Smith

  (individually); Counsel for Michelle Whitaker; and Counsel for Robert Long were in agreement

  with the proposed relief sought. Counsel for the remaining Defendants did not respond nor have

  they discussed the Stipulation with Plaintiff’s Counsel on any prior occasion.


                                                                       s/ Bryce T. Hensley
                                                                       Bryce T. Hensley


                                 CERTIFICATE OF SERVICE

         I, Bryce Thomas Hensley, hereby certify that on December 1, 2023, I electronically filed

  the foregoing with the clerk of the court by using the CM/ECF system, and that upon filing, such

  system will serve a copy of the foregoing upon all counsel of record in this action.


                                                                       s/ Bryce T. Hensley
                                                                       Bryce T. Hensley




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